      Case: 23-2992     Document: 47              Filed: 04/22/2024   Pages: 5


      No. 23-2992, consolidated with Nos. 23-2993, 23-2994, 23-2995, 23-2996,
         23-2997, 23-2998, 23-2999, 23-3000, 23-3001, 23-3002, and 23-3003

           In the United States Court of Appeals
                   for the Seventh Circuit
     KEELY ROBERTS, and JASON ROBERTS, individually and as parents
                  and next friends of C.R and L.R.,
                        Plaintiffs-Appellees,

                                         v.

 SMITH & WESSON BRANDS, INC., SMITH & WESSON SALES COMPANY, and
                    SMITH & WESSON, INC.,
                      Defendants-Appellants,

                                        and

BUDSGUNSHOP.COM, LLC, RED DOT ARMS, INC., ROBERT CRIMO, JR., and
                     ROBERT CRIMO, III,
                   Non-Appellant Defendants.

             On Appeal from the United States District Court for the
                          Northern District of Illinois

      Nos. 1:22-cv-06169, 1:22-cv-06171, 1:22-cv-06178, 1:22-cv-06183, 1:22-cv-06185,
        1:22-cv-06190, 1:22-cv-06193, 1:22-cv-06359, 1:22-cv-06181, 1:22-cv-06191,
                               1:22-cv-06361, 1:22-cv-06186

                   The Honorable Judge Steven Charles Seeger


                      PLAINTIFFS-APPELLEES’
                VERIFIED AND ITEMIZED BILL OF COSTS


CONTINUED ON NEXT PAGE




                                              1
         Case: 23-2992       Document: 47            Filed: 04/22/2024     Pages: 5


              Pursuant to Rule 39(c) of the Federal Rules of Appellate Procedure, counsel

for the Plaintiffs-Appellees respectfully submits this Verified Itemized Bill of Costs and

Declaration in Support of Verified Itemized Bill of Costs, and requests the Clerk to prepare

an itemized statement of costs taxed against Defendants-Appellants Smith & Wesson

Brands, Inc., Smith & Wesson Sales Company, and Smith & Wesson, Inc. and in favor of

the Plaintiffs-Appellees for insertion in the mandate, as follows:


       Cost of printing brief and supplemental appendix

       (15 necessary copies of the special appendix)                     $166.50




                               Total                                     $166.50




                                                 2
        Case: 23-2992      Document: 47             Filed: 04/22/2024    Pages: 5




Dated April 22, 2024
                                               Respectfully submitted,

 /s/ Alexander G. Tievsky                      /s/ H. Christopher Boehning
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                                               ** Counsel of record in Case Nos. 23-2992, 23-
                                               2993, 23-2994, 23-2995, 23-2996, 23-2997, 23-
                                               2998, 23-3000, 23-3001, 23-3003




                                                3
            Case: 23-2992     Document: 47            Filed: 04/22/2024      Pages: 5



                  DECLARATION OF H. CHRISTOPHER BOEHNING

       H. Christopher Boehning, pursuant to 28 U.S.C. § 1746, declares as follows:

       1.       I am a partner with the law firm of Paul, Weiss, Rifkind, Wharton & Garrison,

LLP (“Paul, Weiss”), counsel to the Roberts Plaintiffs-Appellees1 in the above-captioned

action. On behalf of all Plaintiffs-Appellees, I respectfully submit this Declaration in

support of Plaintiffs-Appellees’ Verified Itemized Bill of Costs.

       2.       This Declaration is based on my personal knowledge or on information which

I believe to be true based on my discussions with others at my firm and records of my firm.

       3.       The appellate papers were prepared in-house at Paul, Weiss. For that reason,

no printer’s bill exists for these expenses. To prepare the Verified Itemized Bill of Costs, I

consulted the appropriate members of Paul, Weiss’s staff to determine the costs of

production.

       4.       On January 26, 2024, the Plaintiffs-Appellees filed 15 paper copies of the Brief

for Plaintiffs-Appellees and accompanying Supplemental Appendix with the United States

Court of Appeals for the Seventh Circuit, as required by Fed. R. App. P. 30(a)(3) and Cir.

R. 31(b) and 40(b). The Brief and Supplemental Appendix were 91 pages long, including

Circuit Rule 26.1 disclosure statements, a table of contents, table of authorities, certificate

of compliance with typeface and word-count limits, and certificate of service. The cost of



   1 The Roberts Plaintiffs-Appellees include Jason Roberts, Keely Roberts, Jeffrey Bennett,

Lauren Bennett, Michael Bennett, Terri E. Bennett, Deborah Samuels, Elliot Samuels, Bruce
Sundheim, Lorena Rebollar Sedano, Mirna Rodriguez, Oscar Sanchez, Lizet Montex, Gabriela
Vergara, Sylvia Vergara, Christine Zeifert, Michael Zeifert, Jonathan Straus, Peter Straus, Alejo
Toledo, Josefina Toledo, Petra Toledo, Ricardo Toledo, Antonio Melgar and Amelia Tenorio.
            Case: 23-2992     Document: 47           Filed: 04/22/2024      Pages: 5


creating the Briefs included $0.10 to reproduce each page and $2.00 per book for tape

binding. At a cost of $11.10 per Brief, the total cost for printing the necessary fifteen copies

was $166.50. The Plaintiffs-Appellees seek no costs for postage, delivery, service, overtime,

or edits.

       I declare under penalty of perjury that the foregoing is true and correct.


       Executed: New York, New York

                   April 22, 2024


                                                 /s/ H. Christopher Boehning
                                                 H. CHRISTOPHER BOEHNING
